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m THE UNITED STATES DISTR_ICT COURT ‘
FOR THE WESTERN DISTRICT OF TENNESSEE 05 -

WESTERN DIVISION JUL l l m '*’ '+7

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UNITED sTATEs OF AMERICA OF iii LW
vs cR. No. 04-20358~»Ma

ALFONZO MITCHELL,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD CF EXCLUDABLE DELAY

 

This cause was set for trial on the July Criminal Rotation Docket.
Counsel for the defendant filed a motion for continuance. The
continuance is necessary to allow for additional preparation in the case.

The Court granted the motion and continued the trial date to August
1, 2005, at 9:30 a.m. with a report date of July 22, 2005, at 2:00 p.m.

The period from July 15, 2005, through August 12, 2005, is excluded
under 18 U.S.C. § 3161(h){8)(B)(iv) to allow defense counsel additional
time to prepare.

rr rs so cansan this the "K day of July, 2005.

J/! (//\~L__
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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wlth Rule 55 and.lor 32¢b\ FHCrP on _l__L§_QS.'“

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This notice confirms a copy of the document docketed as number 71 in
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Honorable Samuel Mays
US DISTRICT COURT

